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IN THE UNITED STATES DISTRICT COURT FE!

   

U.S, DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA WGI LEY
‘2021 JUN -1 :
DUBLIN DIVISION rT Al 27
SLER| ‘Clas.
RAFAEL PINEDA-MOJICA, ) SD biSfOFER 1
)
Petitioner, )
)
v. ) CV 321-017
)
WARDEN STACEY N. STONE, )
)
Respondent. )

ORDER

After a careful, de novo review of the file, the Court concurs with the Magistrate
Judge’s Report and Recommendation, to which no objections have been filed. Accordingly,
the Court ADOPTS the Report and Recommendation of the Magistrate Judge as its opinion
and GRANTS Respondent’s motion to dismiss, (doc. no. 12). Therefore, the Court

DISMISSES AS MOOT the petition filed pursuant to 28 U.S.C. § 2241 and CLOSES this

civil action. < f
SO ORDERED wis Hl oO

 
 
   

, 2021, at Augusta, Georgia.

EZ,
UNITED “es DISTRICT JUDGE

   

 
